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UNITED STATES DISTRICT COURT a i
For the
DISTRICT OF NEW JERSEY 7108 FER 272 D4
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Elizabeth Silver — Fagan et al, :
Plaintiffs. : CIVIL ACTION #
: 08-cv-0640 (PGS)
- Va- :
David H. Jaffe, et al :
Defendants —:
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SUPPLEMENTAL NOTICE OF MOTION (i) FOR LIMITED
JURISDICTIONAL DISCOVERY RELATED TO DEFENDANTS’ CLAIMS
OF ALLEGED “FRAUDULENT JOINDER TO DEFEAT JURISDICTION”,

(ii) DEPOSITIONS OF PLAINTIFFS DAVID H. JAFFE, MARGARET E.
JAFFE, (iii) PRESERVATION OF EVIDENCE AND FOR OTHER RELIEF
PLEASE TAKE NOTICE that the above referenced Plaintiffs will move this
Honorable Court, on March 3, 2008 or as soon as counsel can be heard, at the United States
District Court for the District of New Jersey, before the Honorable Peter G, Sheridan, USDJ,
located at the United States District Court for the District of New Jersey, 50 Walnut Street,
Newark, NJ 07102 for rclicf, in addition to that sought in the Plaintiffs’ February 6, 2008
Motion for Summary Remand and which Motion already pending and scheduled to be submitted
on March 3, 2008, for, among other things:
{i) Limited Jurisdictional Discovery related to allegations by Defendants Counsel
Peter W. Till of alleged ‘“Waudulent joinder to defeal jurisdiction’,
(ii) Depositions of Plaintiffs David H. Jaffe and Margaret E. Jaffe, pursuant to FRCP
26 (d) (2);
(iii) | Convening of an expedited siatus Conference pursuant to FRCP Rule 16 related to

Preservation of Evidence:

(iv) For such other relief as the Court deems just and equitable.

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PLEASE TAKE FURTHER NOTICE that Plaintiffs make this Motion under
the following specific provisions of the Federal Rules of Civil Procedure, Local Rules of the

District of New Jersey.

PLEASE TAKE FURTHER NOTICE that in support of this Motion, Plaintiffs

are submitting the Declaration of Elizabeth Silver Fagan and Edward D. Fagan Plaintiffs Pro Se.

PLEASE TAKE FURTHER NOTICE Plaintiffs will also rely upon the

accompanying Letter Memorandum in support of the Supplemental Motion.

PLEASE TAKE FURTHER NOTICE that defendants shall serve their

opposition, if any, in accordance with the Federal Rules of Civil Procedure and the Local Rules

of the District of New Jersey and/or at such other date as may be set by the Court.

a.

Dated: February 21, 2008 ; [foe
Short Hills, NJ : Elizabées Sitver Fagan
10fernctiff Terrace

Short Hilts, NJ. 07078
Tel. (973) 699-3380
Plaintiff Pro Se

Dated: February 21, 2008 UdomL J

New York, NY Edward D. Fagan
10 Ferncliff Terrace
Short Hills, NJ. 07078
Tel. (917) 239-4989

- and -

§ Penn Plaza, 23 Floor
New York, NY 10001
Tel. (646) 378-2225
Plaintiff Pro Se

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CERTIFICATE OF SERVICE

1 HEREBY CERTIFY that I caused the foregoing

SUPPLEMENTAL NOTICE OF MOTION (i) FOR LIMITED
JURISDICTIONAL DISCOVERY RELATED TO CLAIMS BY
DEFENDANTS’ COUNSEL PETER W. TILL OF ALLEGED
“FRAUDULENT JOINDER TO DEFEAT JURISDICTION”, (ii)
DEPOSITIONS OF PLAINTIFFS DAVID H. JAFFE, MARGARET E.
JAFFE, (iii) EXPEDITED FRCP RULE 16 CONFEERENCE AND (iv) FOR
OTHER RELIEF

to be filed with the Clerk of the Court and served on Defendants’ counsel by 1*' class

mail postage prepaid, fax and email to:

Peter W. Till Esq.

105 Morris Avenue, Suite 201
Springfield, NJ 07081
Tel. # (973) 258-0064
Fax # (973) 258-0478
Email: tilllaw@aol.com

‘And

Margaret F. Rogers
Defendant Pro Se
73 Beechwood Road
Summit, NJ 07901
Defendant Pro Se

Dated: February 21, 2008
Short Hills, NJ

Dated: February 21, 2008 [bore a

lizabeth Silver Fagan

New York, NY Edward D, Fagan

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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

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Elizabeth Silver — Fagan et al, :
Plaintiffs, : CIVIL ACTION #
: 08-cv-640 (PGS)
- VS :
David H. Jaffe, et al :
Defendants:
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DECLARATIONS OF ELIZABETH SILVER FAGAN AND EDWARD D.
FAGAN IN SUPPLEMENTAL NOTICE OF MOTION (i) FOR LIMITED
JURISDICTIONAL DISCOVERY RELATED TO DEFENDANTS’ CLAIMS
OF ALLEGED “FRAUDULENT JOINDER TO DEFEAT JURISDICTION”,
(ii) DEPOSITIONS OF PLAINTIFFS DAVID JAFFE, MARGARET JAFFE
PURSUANT TO FRCP 26(d)(2), (iti) FRCP 16 STATUS CONFERENCE TO
ADDRESS EVIDENCE PRESERVATION and (iv) FOR OTHER RELIEF

Elizabeth Silver — Fagan and Edward D. Fagan, hereby declare as follows:
1. We are plaintiffs in this action and we make this Declaration in support of the Motion for
Summary Remand and other relief.
2. We submit this Declaration in support of our Supplemental Motion for:

a. Limited Jurisdictional Discovery to respond to the allegations that have been
made by Defendants counsel Peter W. Till Esq. in which he claims that there has
been “fraudulent joinder to defeat jurisdiction”;

b. Depositions of Plaintiffs David H. Jaffe and Margaret E. Jaffe, pursuant to FRCP
26 (d) (2);

c. An expedited FRCP Rule 16 Conference to address evidence preservation and

jurisdiction issues; and

d. For other relief.

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3. Atthe outset, we object to Defendants’ counsel statement that he “kvours/ He facts of
this case’ and then proceeds to (i) misrepresent the allegations that were made in the
Amended Complaint, (ii) suggest that we did not name or intend to pursue a claim against
Defendant Rogers, and (iii) mischaracterize and/or misquote statements from our

Declarations to this Court.

PROPER JOINDER / NON-DIVERSE PARTIES & BONA FIDE CLAIMS

4. To date, Defendants’ counsel Till — on behalf of Defendant David H. Jaffe (“Defendant
D. Jaffe”), Margaret E. Jaffe (“Defendant M. Jaffe”), Mindy A. Rogers (“Defendant M.
Rogers”), Ken Rogers (“Defendant K. Rogers”) (collectively “Defendants”) — submitted
sworn certifications and/or pleadings that (i) contain misrepresentations or incorrect

statements of fact and (ii) misrepresent allegations that we have made and sworn to in our

submissions to this Court. By way of example,

a. At 3, lines 13 ~ 16 of Defendants’ counsel Till's February 12, 2008
Memorandum he suggested that we have not sued and are not pursuing a claim
against Defendant Rogers. See Zxv4. /, Yet, Attorney Till was told there was a
typographical error in the caption of the Amended Complaint and we omitted
Defendant Rogers’ name. Attorney Till knows:

i. Defendant Rogers name appeared in the Amended Summons — See Exh.

ii. Defendant Rogers is identified and/or referenced in and throughout the
Amended Complaint at literally every paragraph — See Zi#. 3, FF 30-78;
3? & 8S:

iii. the claims against Defendant D. Jaffe, Defendant M. Jaffe, Defendant M.

Rogers and Defendant K. Rogers are predicated upon their relationship

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with, responsibility for and other actions related to Defendant Rogers —
See Exh. 3, G9 31, fir f -p.7 32, 33, 34, 35, 41, 42, 43, 46. 47, 50 fn 3 ~ p.
10 $7, 5&, 59 60. G4, 05, 66, 67, 77, 73. 78, 76 & 77:

iv. the damages demanded in the Amended Complaint are against Defendant
Rogers and all Defendants - See Ar/. 3. 9 79 & SS, and

v. Defendant Rogers was served with the Amended Summons even before
the other Defendants were served - See Ar4. #

b. Attorney Till suggests that we made contradictory statements between in the
Amended Complaint and the February 6, 2008 Certification, by suggesting that

we swore the “sole actor” responsible for our damages was Defendant D. Jaffe’s

and M. Jaffe’s granddaughter, Defendant Margaret Rogers. However, Attorney
Till knows that is not what we said in February 6, 2008 Certification and the
statements in the Certification are consistent with the allegations of the Amended
Complaint. See Exf. /, page 4;

c. Atiorney Till suggested that Defendant D. Jaffe and Defendant M. Jaffe are
unnecessary partics, that no reasonable cause of action can be maintained against
them and that Plaintiffs Amended Complaint ts based upon “a/eged mnipraper
child rearing”. See Exh, 1, page 6. Wowever, Attorney Till knows that in
addition to the acts through which Defendants turned Defendant Rogers into the
person she is today, the allegations of the Amended Complaint contain specific
allegations against Defendant D. Jafle and Defendant M. Jaffe based upon
individual negligence and wrongful acts (including aiding and abetting and/or

assistance of Defendant Rogers) for which acis these Defendants can be held

accountable under the laws of the State of New Jersey for the damages they

twa

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caused or allowed to be damages to Plaintiffs See Aré. 3 UG £5, 46, 47, 50 fa 3 -
BLO, 37, 53, 39 60. 64, 63, 66, 67. 71, 73, 73, JOR 77
5. Attorney Till makes these improper suggestions on behalf of Defendants; however he is
not a person with knowledge and whatever he says is not evidence in this case.
6. As the Court will note, there is not a single Declaration or sworn statement from any of
the Defendants in support of the allegations that Attorney Till has made.
7. There is nota single Declaration from Defendants to support the suggestions that, among
others:
a. This Court has and should exerctse diversity jurisdiction; or
b. We, as Plaintiffs, fraudulently joined Defendant D. Jaffe and Defendant M. Jaffe
to defeat diversity jurisdiction; or
c. Defendant D. Jaffe and Defendant M. Jaffe should be dismissed as parties to the
Amended Complaint; or
d. Defendant D. Jaffe and Defendant M. Jaffe have no liability based on the facts as
articulated in the Amended Complaint; or
c. We, as Plaintiffs, are not pursuing a claim against Defendants granddaughter —
Defendant Rogers; or
f. There is no basis to suggest that Defendant D. Jaffe or Defendant M. Jaffe or
Defendant M. Rogers or Defendant K. Rogers have any liability based on the
allegations of the Amended Complaint; or
g. There is no law in the State of New Jersey pursuant to which Defendant D. Jatfe
or Defendant M. Jaffe or Defendant M. Rogers or Defendant K. Rogers could be

held liable for the actions or inactions as set forth in the Amended Complaint; or

h. Plaintiffs’ claims are frivolous and have no merit.

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8. There is not a shred of credible evidence to support Attorney Tills* submissions, nor does
he accurately reflect the law upon which our claims are based.
9, The facts of this case are as follows:
a. Defendant D. Jaffe or Defendant M. Jaffe or Defendant M. Rogers or Defendant
K. Rogers knew of the dangerous propensities of Defendant Rogers:
b. Defendant D. Jaffe or Defendant M. Jaffe or Defendant M. Rogers or Defendant
K. Rogers knew of the dangerous psychological and/or emotional conditions of
Defendant Rogers and that her conditions were going to cause damages to us;
c. Defendant D. Jaffe or Defendant M. Jaffe or Defendant M. Rogers or Defendant

K. Rogers had the opportunity and ability to stop Defendant Rogers from doing

damage to us;

d. Defendant D. Jaffe or Defendant M. Jaffe or Defendant M. Rogers or Defendant
K. Rogers had the opportunity and ability to warn us;

e. Instead of warning us, Defendant D. Jaffe or Defendant M. Jaffe or Defendant M.
Rogers or Defendant K. Rogers kept quiet about the dangerous propensities of
Defendant Rogers; and

f. Instead of stopping Defendant Rogers from the harm she was going lo cause us,
Defendant D. Jaffe or Defendant M. Jaffe helped her cause the damages to us;

10. With this Declaration, Plaintiffs are submitting certain documents that we believe are
rclevant to the Court’s considerations at this procedural stage.
11. The documents fall into the following categories:
a. Documents showing Plaintiffs prosecution of claims against Non-Diverse

Defendants, which fact alone warrants summary remand:

b. Documents showing Defendants David Jaffe's and Margaret Jaffe’s direct

Us

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involvement with, involvement in and responstbility for some of the negligent
acts which form the basis of Plaintiffs Complaint, which demonstrate that there
has been no frivolous joinder;

c, Documents showing Defendants David Jaffe’s and Margaret Jaffe’s involvement
and responsibility for medical and/or emotional conditions related to their
pranddaughter which documents demonstrate that there has been no frivolous
joinder; and

d. Documents showing that certain evidence is in jeopardy of potential destruction
and which documents and/or other evidence need to be preserved.

12. Plaintiffs are submitting documents related to Defendant Margaret Rogers medical and/or
psychological condition(s) that relate to the underlying causes of action for the Court's in
camera consideration. We.are submitting these documents for this in camera inspection

to insure that they remain Confidential and because we have learned that certain persons

are threatening to disclose and/or publish medical and other confidential records related
to the parties in this litigation.
13. The documents show that, contrary to Attorney Tills* suggestions, Defendant D. Jaffe
and Defendant M. Jaffe:
a. Provided legal representation for Defendant Rogers:
b. Provided medical and psychological care and treatment for Defendant Rogers;
c. Provided computers, phones, transportation, food, clothing and support;
_d. assumed responsibility and liability for Defendant Rogers as far back as 1998;
¢. Were directly involved with and/or assisted Defendant Rogers since August 28,

2007,

14, ‘The evidence shows that Defendant 1). Jaffe knew what Defendant Rogers was doing to

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us and both he and Defendant M. Jaffe helped Defendant Rogers do the things to us.

15. By way of example only, on Sept. 7, 2007. Defendant D. Jaffe picked up Defendant
Rogers at the Millburn Police Department, drove her to the Scotch Piains Police
Department and helped her fill out the false Police Report with the fabricated evidence
that was prepared using the computer equipment they provided to her and which led to
our being arrested for an alleged violation of a Temporary Restraining Order that they
helped her obtain in the first place.

16. The evidence also shows that, among other things:

a. Defendant D. Jaffe and M. Jaffe had a pre-existing duty to warn us of the dangers

presented by Defendant Rogers because of their economic control over Defendant
Rogers, because of Defendant Rogers’ dependence on them for computers, phones
and mobility;

b. When Defendant D. Jaffe and Defendant M. Jaffe learned that we had a claim
against them, thcy left the State of New Jersey in an cffort to make it more
difficult for us to prosecute these claims;

c. Defendant D. Jaffe and Defendant M. Jaffe have done everything in their power
to interfere with our ability to prosecute these claims.

LIMITED DEPOSITIONS AND PRESERVATION OF EVIDENCE

17. As the Court addresses these issues, Plaintiffs urge the Court to also consider the fact that
Defendant D. Jaffe and Defendant M. Jaffe are in their 80s and their health is failing.
Defendant D. Jaffe is over 83 years of age and has had severe heart problems.

Defendant M. Jaffe suffered a stroke and has had at least one hip replacement.
18. Plaintiffs should be entitled to conducted limited jurisdictional discovery, including the

depositions of Defendant D. Jaffe and Defendant M. Jaffc, with regard to the allegations

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19.

20.

21,

22.

23.

that this Court has diversity jurisdiction because of Plaintiffs alleged “fraudulent joinder”
of Defendant D. Jaffe and Defendant M. Jaffe.

In addition to the limited jurisdictional discovery, there is a need to preserve evidence
that is in danger of being destroyed.

We have been informed that many of the records related to the medical and/or
psychological conditions from which Defendant Rogers suffers and at the facilities where
she was treated (i) started to be destroyed in 2005 and (ii) others are subject to destruction
in the normal course of business between 7 — 10 years which means they need to be
preserved immediately. See AxAibits 72 to 78.

We have also discovered certain Court records and/or records related to Court appointed
professionals related to. Plaintiffs’ claims against all Defendants are in danger of being
destroyed because they are approaching the maximum retention period of 7 years. See
Exhibit 18

In addition to the need to preserve records in the possession of third partics, there is a
need to preserve electronically stored data on Defendants’ computers and email systems.
See Exhibits 73 to 18.

In further support for this Motion for Supplemental Relief and the relief sought in the
Feb, 6" Motion, we are submitting a separate Letter Memorandum of Law responding the
suggestions by Attorney Till there is no law in the State of New Jersey that could impose
liability on a Defendant (such as his clients) for failing to take action when he or she is
under a duty to act in accordance with the principals enunciated in Podias v. Mairs 394
MS. Super. 358, 346-350 (2007) cert. dented 19? NL. 482 (2007) (inposttion of Habitity

On passengers in a@ car for Jatling to call far emergency aid after an accident) and Batoff

v State Farm tas. 977 F. 2d 848 (F" Cir. 1992) (which Attorney Till failed to reference in

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his Feb, 12 Memorandum in which he relied on the older case Of Abels v State Farit
Fire & Cas. Co. 770F. 2a 26 (3" Cir. /985)) .. These standards for the imposition of
liability are, of course, in addition to the traditional standards for the imposition of
liability on Defendants for aiding and abetting and other wrongful acts that lead to
damages.
24. We respectfully request that the relief be granted in its entirety.
DECLARATION UNDER 28 USC § 1746

I declare, verify, certify and state under the penalty of perjury that the facts and
statements contained above are true and accurate to the best of arm knowledge information and

belief.
Dated: February 21, 2008 Do
Short Hills, NJ El Silver Fagan
Pro Se

DECLARATION UNDER 28 USC § 1746
I declare, verify, certify and state under the penalty of perjury that the facts and
statements contained above are true and accurate to the best of my knowledge information and

Dated: February 21, 2008

New York, NY Edward D. Fagan e
Plaintiff Pro Se

